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      JAMES SHAYLER
  8                         UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
      JAMES SHAYLER,                                 Case No.:
 11
                Plaintiff,
 12
          v.
 13                                           COMPLAINT FOR VIOLATIONS
                                              OF: AMERICAN’S WITH
 14   Ivan W. Searcy, an Individual; and Does DISABILITIES ACT OF 1990, 42
      1-10,                                   U.S.C. § 12181 et seq.; UNRUH
 15                                           CIVIL RIGHTS ACT, CALIFORNIA
              Defendants.                     CIVIL CODE § 51 et seq.
 16
 17
 18                                                  DEMAND FOR JURY TRIAL
 19
 20
 21
 22               Most Americans will become disabled at some point in life.

 23
 24
 25            Plaintiff James Shayler (hereinafter referred to as “Plaintiff”), complains of;
 26   Ivan W. Searcy, an Individual; and Does 1-10 (each, individually a “Defendant”
 27   and collectively “Defendants”) and alleges as follows:
 28

                                             COMPLAINT
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  1                              I.     PARTIES
  2         1.     James Shayler has only partial use of his leg and suffers from heart
  3
      failure as well as diabetes related soars on his feet. Plaintiff is a California resident
  4
      with physical disabilities. Plaintiff has difficulty walking and standing. Plaintiff is
  5
      mobility impaired. Plaintiff is qualified as being disabled pursuant to 42 USC
  6
      Section 12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq.
  7
      and 52, et seq., and other statutory laws which protect the rights of “disabled
  8
      persons”. Plaintiff has been issued a blue permanent disability Disabled Person
  9
 10
      Parking Placard by the State of California.

 11         2.     Defendants Ivan W. Searcy, an Individual owned the property

 12   (“Property”) located at 3201 N Sepulveda Blvd., Manhattan Beach, CA 90266, at
 13   all relevant times.
 14         3.     There is a business establishment on the Property known as “Revitalife
 15   Medical Center” (hereinafter “the business”).
 16         4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 17   owners, subsidiaries, parent companies, employers, employees, agents, corporate
 18
      officers, managers, principles and/or representatives of Defendants. Plaintiff is
 19
      unaware of the true names and capacities of Defendants sued herein, as DOES 1
 20
      through 10, inclusive, and therefore, sues those Defendants by fictitious names.
 21
      Plaintiff requests that the Court grant leave to amend this complaint to allege the
 22
      true names and capacities when determined by whatever source.
 23
            5.     Plaintiff alleges that Defendants at all times have been and are relevant
 24
 25   to this cause of action, the owners, franchisees, lessees, general partners, limited

 26   partners, agents, employees, employers, represent partners, subsidiaries, partner

 27   companies, and/or joint ventures of the remaining Defendants and were acting
 28   within the course and scope of that relationship. Plaintiff is further informed and
                                             2
                                         COMPLAINT
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  1   believes and alleges that each of the Defendants gave consent to, ratified, and/or
  2   authorized the acts alleged of each of the remaining defendants.
  3
             6.     Plaintiff visited the public accommodations owned and operated by
  4
      Defendants with the intent to purchase and/or use the goods, services, facilities,
  5
      privileges, advantages or accommodations operated and/or owned by Defendants.
  6
                                  II.    JURISDICTION & VENUE
  7
             7.     This Court has subject matter jurisdiction over this action pursuant to
  8
      28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
  9
 10
      Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).

 11          8.     Pursuant to supplemental jurisdiction, an attendant and related cause of

 12   action, arising from the same nucleus of operative facts and arising out of the same
 13   transactions, is also brought under California’s Unruh Civil Rights Act, which act
 14   expressly incorporates the ADA.
 15          9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
 16   founded on the fact that the real property which is the subject of this action is
 17   located in this district and that Plaintiffs cause of action arose in this district.
 18
                                  III.   FACTS
 19
             10.    The Property owned by Defendants is a facility which is open to the
 20
      public and is a business establishment.
 21
             11.    Plaintiff alleges that the Property has been newly constructed and/or
 22
      underwent remodeling, repairs, or alterations since 1992, and that Defendants have
 23
      failed to comply with California access standards which applied at the time of each
 24
 25   new construction and/or alteration or failed to maintain accessible features in

 26   operable working condition.

 27          12.    Plaintiff visited the Property during the relevant statutory period on
 28   three (3) separate occasions from June 2020 to July 2020 to patronize the business
                                             3
                                         COMPLAINT
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  1   on the Property.
  2         13.    Defendants did not offer persons with disabilities with equivalent
  3
      facilities, privileges and advantages offered by Defendants to other patrons.
  4
            14.    Plaintiff encountered barriers (both physical and intangible) that
  5
      interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
  6
      services, privileges and accommodations offered at the Property.
  7
            15.    Parking for patrons visiting the Property are among the facilities,
  8
      privileges, and advantages offered by Defendants to patrons of the Property.
  9
 10
            16.    However, there is no accessible parking for disabled persons. Not one

 11   single space. The parking spaces do not comply with the Americans with

 12   Disabilities Act (“ADA”).
 13         17.    The parking area does not comply with the latest California Building
 14   Codes (“2010 CBC Code”).
 15         18.    Parking are one of the facilities, privileges, and advantages offered by
 16   Defendants to patrons of the Property.
 17         19.    When Plaintiff visited the Property, he experienced access barriers
 18
      related to parking, ramps, the entrance and the very ground itself.
 19
            20.    Plaintiff encountered the following barriers at Defendant’s Property:
 20
 21
            The Revitalife Medical Center has no disabled parking. There is parking
 22
            for able bodied, but not for disabled. There are no lowered counters.
 23
            There is no accessible restroom. The ramp blocking the only entrance is
 24
 25         very steep and dangerous. It is as if they do not welcome or anticipate

 26         any disabled people, at a medical center.

 27
 28         VIOLATION 2010 CBC 1129B.1; 1991 ADA § 4.1.2(5); (Accessible
                                           4
                                       COMPLAINT
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  1        Spaces Required) Where parking is provided, a minimum number of
  2        accessible spaces are required in accord with the number of total spaces.
  3
           They were not provided.
  4
  5
  6        VIOLATION of 2010 CBC 1129B.4(5); (Off-Street Unauthorized Parking
  7        Sign). An additional sign must be posted in a conspicuous place at all
  8        entrances to off-street parking facilities at Property, or adjacent to and visible
  9
           from each space. It was not.
 10
 11
 12        VIOLATION of 2010 CBC Code 1133B.7.1; ADA 1991 Code § 4.6.8.
 13        (Abrupt Change in Level Exceeding 1/2”). The path of travel from the space
 14
           reserved for disabled patrons, the ground surface is uneven, with changes in
 15
           level exceeding 1/2”.
 16
 17
 18        VIOLATION of 2010 CBC Code 1133B.7.4; ADA 2010 § 303.3. (Front

 19        Entrance Threshold/Weather Strip- Interior Changes in level). Inside the
 20        building, the front door entrance threshold and weather strip has changes in
 21        level greater than 1/2 inch but provides no ramps. This makes traversing this
 22        area difficult.
 23
 24        VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking
 25
           Sign – Towed Vehicle Information). The Unauthorized Parking Towed
 26
           Vehicle sign must state information regarding the tow company and
 27
           telephone number. This information was not provided. Only part of the
 28
                                          5
                                      COMPLAINT
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  1        contact information for the tow company was provided, not the full
  2        number.
  3
  4
  5        VIOLATION of 2010 CBC 1129B.3.1; ADA 1991 Code § 4.6.3; ADA
  6        2010 Code § 502.3 (No Loading/Unloading Access Aisle). The adjacent
  7        loading/unloading access aisle for the parking spaces are missing entirely.
  8        This makes it difficult for Plaintiff to use the adjacent space to safely
  9
           disembark from the car.
 10
 11
 12        VIOLATION of 2010 1122B.5; ADA 1991 Code § 7.2; ADA 2010 Code §

 13        904. (Transaction counters). There is no lowered counter for disabled persons
 14        whose line of sight is lower. There was no lowered, 36 inches or less,
 15        transaction counter for use by persons who cannot see high surfaces because
 16        of their disability. Without a lowered transaction counter, it is difficult for
 17        Plaintiff to use the counter to conduct business at the Property.
 18
 19
           VIOLATION of 2010 CBC Section 1115B.3.1.3; ADA 1991 Code § 4.23.6
 20
           (5% Req. Accessible Lavatory). At least 5% or at least one lavatory
 21
           complying with accessibility requirements was not provided.
 22
 23
           VIOLATION of 2010 CBC Section 1115B.8.4; ADA 1991 Code § 4.16.6;
 24
           ADA 2010 Code § 604.7. (Toilet paper dispenser). The toilet tissue dispenser
 25
 26        is mounted more than 12” from the front edge of the toilet seat, making it

 27        hard for Plaintiff to use the toilet.

 28
                                            6
                                        COMPLAINT
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  1        VIOLATION of 2010 CBC Section 1115B.4.1.3.3.2 (Toilet - Rear Grab
  2        Bar Extension From Centerline). The toilet rear grab bar extending at least
  3
           12” on one side and 24” on the other side from the centerline was not
  4
           provided.
  5
  6
           VIOLATION of 2010 CBC Section 1115B.4.1.3.3.2 (Toilet - Rear Grab
  7
           Bar). The toilet rear grab bar of a minimum length of 36” long was not
  8
           provided.
  9
 10
 11        VIOLATION of 2010 CBC Section 1115B.4.1.3.3.1 (Toilet - Side Grab

 12        Bar). The toilet side grab bar a minimum of 42” long was not provided.
 13
 14        VIOLATION of 2010 CBC Section 1115B.4.1.3(3.1) (Toilet Side Grab Bar
 15        -Height Above Floor). The toilet side wall grab bar shall be attached 33”
 16        above and parallel to the floor. It was not.
 17
 18
           VIOLATION of 2010 CBC Section 1115B.4.1.3.3.1) (Toilet Side Grab Bar
 19
           -Distance from Rear Wall). The toilet side wall grab bar shall be attached no
 20
           more than 12” from the rear wall and extending a minimum of 54” from the
 21
           rear wall with the front end positions a minimum of 24” in front of the water
 22
           closet. It was not.
 23
 24
 25        VIOLATION of 2010 CBC Code 1115B.4.1.3(3.2); ADA 1991 § 4.17.6

 26        (Toilet Side Rear Bar -Height Above Floor). The toilet rear wall grab bar

 27        shall be attached 33” above and parallel to the floor. It was not.
 28
                                          7
                                      COMPLAINT
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  1        VIOLATION of 2010 CBC Code 1115B.4.1.; ADA 1991 § 4.17.3 (Water
  2        Closet – Side Clear Floor Space). A minimum of 32” clear floor space
  3
           extending from the rear wall to the front on the side of the water closet
  4
           adjacent to the wall/partition was not provided.
  5
  6
           VIOLATION of 2010 CBC Code Section 1127B.1; ADA 1991 Code §
  7
           4.6.2(1). (Directional signage). There is no directional signage showing an
  8
           accessible path of travel.
  9
 10
 11        VIOLATION of 2010 CBC 1129B.3.1; ADA 2010 section 502.6; ADA §
 12        4.6.3; (Marked Path of Travel). There was also no marked path of travel
 13
           from the parking spaces to the entrance. There is no safe way for Plaintiff to
 14
           park there and then travel to the entrance of the Property. Plaintiff is forced
 15
           to travel a dangerous route, behind parked cars and in the vehicle drive path
 16
           to move from the space to the entrance.
 17
 18
 19        VIOLATION of 2010 CBC 1133B.5.1; ADA § 4.8.1 (Ramps 5%). The
 20        accessible route of travel is more than 1:20 (5%) but is not a compliant ramp.
 21
 22
           VIOLATION of 2010 CBC 1133B.5.2; (48” Min. for Ramps). The ramps
 23
           do not have a minimum clear width of 48” inches.
 24
 25        VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Least Possible Slope
 26        of Ramp Mandatory). The least possible slope of the ramp leading into the
 27        business was not used.
 28
                                            8
                                        COMPLAINT
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  1
  2        VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Max. Slope of Ramp
  3
           8.33%). The slope of the ramp leading into the business is greater than
  4
           8.33%.
  5
  6
  7        VIOLATION of 2010 CBC 1133B.5.3.1; ADA § 4.8.6 (Max. Cross Slope

  8        of Ramp 2%). The cross slope of the ramp was greater than 2%.
  9
 10
           VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4 (Level Ramp
 11
           Landings). Level ramp landings must be provided at the top and bottom of
 12
           each ramp. They were not provided.
 13
 14
 15        VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4(1) (Width of Ramp
 16        Landings). The landing of ramps must be at least twice the width as the tamp
 17        run leading to it, but they were not at least twice as wide.
 18
 19
           VIOLATION of 2010 CBC 1133B.5.4.2; ADA § 4.8.4(2), 4.8.4(3) (Min.
 20
 21
           Landing Width and Length for Top Ramp Landings 60”). The top landing of

 22        ramps were not 60” wide and long as required.

 23
 24        VIOLATION of 2010 CBC 1133B.5.4.2 (Min. Landing Length for Bottom
 25
           Ramp Landings 72”). The bottom landing of ramps was not 72” in length as
 26
           required.
 27
 28
                                          9
                                      COMPLAINT
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   1         VIOLATION of 2010 CBC 1133B.5.4.6; ADA § 4.8.4(3) (Min. Landing
   2         Size for Ramps Direction Change). The minimum landing size of 60” x 60”
   3
             was not provided for the ramp’s change of direction.
   4
   5
   6         VIOLATION of 2010 CBC 1133B.5.4.9 (Ramp Hazard Curb). The

   7         minimum 2” hazard curb for the ramp with was not provided for the ramp.

   8
   9
             VIOLATION of 2010 CBC 1127B.5.7; ADA § 4.7.7 (Detectable Warnings
  10
  11
             - Curb Ramp). Detectable warnings extending the full width and depth of the

  12         ramp were not installed where curb ramps lead to an accessible route.

  13
  14
             VIOLATION of 2010 CBC 1133B.7.1; (Walks/Sidewalks Min. Width 48”)
  15
             The walk into the business does not have a minimum width of 48”.
  16
             21.    Plaintiff personally encountered these barriers.
  17
             22.    These inaccessible conditions denied Plaintiff full and equal access
  18
       and caused difficulty, humiliation and frustration.
  19
             23.    The barriers existed during each of Plaintiff’s visits in 2020.
  20
  21
             24.    Plaintiff alleges that Defendants knew that the architectural barriers

  22   prevented access. Plaintiff will prove that Defendants had actual knowledge that the

  23   architectural barriers prevented access and that the noncompliance with the
  24   ADAAG and Title 24 of the California Building Code regarding accessible features
  25   was intentional.
  26         25.    Plaintiff intends to return to Defendants public accommodation
  27   facilities in the near future. Plaintiff is currently deterred from returning because of
  28
                                            10
                                         COMPLAINT
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   1   the knowledge of barriers to equal access that continue to exist at Defendants’
   2   facilities that relate to Plaintiff’s disabilities.
   3
              26.    Defendant has failed to maintain in working and useable conditions
   4
       those features necessary to provide ready access to persons with disabilities.
   5
              27.    Defendants have the financial resources to remove these barriers
   6
       without much expense or difficulty in order to make their Property more accessible
   7
       to their mobility impaired customers. These barriers are readily achievable to
   8
       remove. The United States Department of Justice has identified that these types of
   9
  10
       barriers are readily achievable to remove.

  11          28.    To date, Defendants refuse to remove these barriers.

  12          29.    On information and belief, the Plaintiff alleges that the Defendants’
  13   failure to remove these barriers was intentional because the barriers are logical and
  14   obvious. During all relevant times Defendants had authority, control and dominion
  15   over these conditions and therefore the absence of accessible facilities was not a
  16   mishap but rather an intentional act.
  17          30.    These barriers to access are described herein without prejudice to
  18
       Plaintiff citing addition barriers to access after inspection by plaintiff’s access
  19
       agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding
  20
       once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
  21
       barriers that relate to their disability removed regardless of whether they personally
  22
       encountered them).
  23
          IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  24
           WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
  25
                                        (Against All Defendants)
  26
  27
              31.    Plaintiff alleges and incorporates by reference each and every
  28
                                               11
                                            COMPLAINT
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   1   allegation contained in all prior paragraphs of this complaint.
   2         32.    Title III of the ADA prohibits discrimination against any person on the
   3
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
   4
       privileges, advantages, or accommodations of any place of public accommodation
   5
       by any person who owns, leases or leases to, operates a place of public
   6
       accommodation. U.S.C. § 12182(a).
   7
             33.    Defendants discriminated against Plaintiff by denying “full and equal
   8
       enjoyment” and use of the goods, services, facilities, privileges or accommodations
   9
  10
       of Defendant’s facility during each visit and each incident of deterred visit.

  11         34.    The acts and omissions of Defendant herein are in violation of

  12   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
  13         35.     Pursuant to the ADA discrimination is a “failure to make reasonable
  14   modifications in policies, practices or procedures, when such modifications are
  15   necessary to afford goods, services, facilities, privileged, advantages or
  16   accommodation to individuals with disabilities, unless the entity can demonstrate
  17   that making such modifications would fundamentally alter the nature of such goods,
  18
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  19
       12182(b)(2)(A)(ii).
  20
             36.    The ADA prohibits failing to remove structural architectural barriers in
  21
       existing facilities where such removal is readily achievable. 42 U.S.C. §
  22
       12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
  23
       accomplishable and able to be carried out without much difficulty or expense.” Id.
  24
  25   § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,

  26   Part 36.

  27         37.    In the event removal of any barrier is shown to not be readily
  28   achievable, a failure to make goods, services, facilities, or accommodations
                                            12
                                         COMPLAINT
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   1   available through alternative methods is also prohibited if these methods are readily
   2   achievable. Id. § 12182(b)(2)(A)(v).
   3
             38.     Plaintiff alleges that Defendant can easily remove the architectural
   4
       barriers at their facility without much difficulty or expense, and that Defendant
   5
       violated the ADA by failing to remove those barriers because it was readily
   6
       achievable to do so. There are companies in the area which can repaint the parking
   7
       areas for as little as $350. Defendants can afford such costs given they are a fraction
   8
       of what the Defendants takes in rental profits for such a large and expensive
   9
  10
       property.

  11         39.     In the alternative, if it was not “readily achievable” for Defendants to

  12   remove the facilities barriers, the Defendants violated the ADA by failing to make
  13   the required services available through alternative methods, which are readily
  14   achievable.
  15         40.     On information and belief, the facility was modified after January 26,
  16   1992, mandating access requirements under the ADA.
  17         41.     The ADA requires that facilities altered in a manner that affects or
  18
       could affect its usability must be made readily accessible to individuals with
  19
       disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
  20
             42.     Plaintiff alleges that Defendants altered the facility in a manner that
  21
       violated the ADA and was not readily accessible to physically disabled persons,
  22
       including Plaintiff, to the maximum extent feasible.
  23
             43.     The ADA also requires reasonable modification in policies, practices,
  24
  25   or procedures when necessary to afford such goods, services, facilities, or

  26   accommodations to individuals with disabilities, unless the entity can demonstrate

  27   that making such modifications would fundamentally alter their nature. 42 U.S.C. §
  28   12182(b)(2)(A)(ii).
                                            13
                                         COMPLAINT
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   1         44.    Plaintiff alleges that Defendants violated the ADA by failing to make
   2   reasonable modifications in policies, practices, or procedures at the facility when
   3
       these modifications were necessary to afford (and would not fundamentally alter the
   4
       nature of) these goods, services, facilities, or accommodations.
   5
             45.    Plaintiff seeks a finding from this Court that Defendants violated the
   6
       ADA in order to pursue damages under California’s Unruh Civil Rights Act for
   7
       Disable Persons Act.
   8
             46.    Here the Defendants’ failure to make sure that accessible facilities
   9
  10
       were available and ready to be used by the Plaintiff is a violation of law.

  11         47.    Plaintiff would like to continue to frequent Defendants’ facility

  12   because of because it is close to her home, but Plaintiff has been discriminated
  13   against and continues to be discriminated against because of the lack of accessible
  14   features.
  15         48.    Among the remedies sought, Plaintiff seeks an injunction order
  16   requiring compliance with the state and federal access laws for all the access
  17   violations that exist at the Property.
  18
  19
         V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
  20                       (Cal. Civ. Code § 51-53.)
  21                                  (Against All Defendants)
  22
  23         49.    Plaintiff repleads and incorporates by reference, as fully set forth again
  24   herein, the allegations contained in all prior paragraphs of this complaint.
  25         50.    California Civil Code § 51 states, in part: All persons within the
  26   jurisdictions of this state are entitled to the full and equal accommodations,
  27   advantages, facilities, privileges, or services in all business establishments of every
  28
                                            14
                                         COMPLAINT
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   1   kind whatsoever.
   2          51.    California Civil Code § 51 also states, in part: No business
   3
       establishment of any kind whatsoever shall discriminate against any person in this
   4
       state because of the disability of the person.
   5
              52.    California Civil Code § 51(f) specifically incorporates (by reference)
   6
       an individual’s rights under the ADA into the Unruh Act.
   7
              53.    The Unruh Act also provides that a violation of the ADA, or California
   8
       state accessibility regulations, is a violation of the Unruh Act. Cal Civ. Code, §
   9
  10
       51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439

  11   (N.D.Cal.1994).

  12          54.    Defendants’ above-mentioned acts and omissions have violated the
  13   Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
  14   advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
  15   disability.
  16          55.    Defendants’ above-mentioned acts and omissions have also violated
  17   the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
  18
       are liable for damages. (Civ. Code § 51(f), 52(a)).
  19
              56.    Because violation of the Unruh Civil Rights Act resulted in difficulty,
  20
       discomfort or embarrassment for the Plaintiff, the Defendants are also each
  21
       responsible for statutory damages, such as a civil penalty. (Civ. Code § 52).
  22
              57.    Plaintiff was actually damaged.
  23
              58.    Plaintiff was damaged by Defendants’ wrongful conduct and seeks
  24
  25   statutory minimum damages of four thousand dollars ($4,000) for each offense.

  26                                 PRAYER FOR RELIEF

  27                 WHEREFORE, Plaintiff prays judgment against Defendants, as
  28   follows:
                                            15
                                         COMPLAINT
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   1         1. For injunctive relief, compelling Defendants to comply with the
   2             Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
   3
                 Plaintiff is not invoking section 55 of the California Civil Code and is not
   4
                 seeking injunctive relief under the Disabled Person Acts.
   5
             2. Damages under the Unruh Civil Rights Act which provides for actual
   6
                 damages and a statutory minimum of $4,000 per each offense.
   7
             3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
   8
                 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
   9
  10
                                          JURY DEMAND

  11   Plaintiffs demand a trial by jury on all issues so triable.
  12
  13   DATED: August 6, 2020                    THE LAW OFFICE OF HAKIMI & SHAHRIARI
  14
  15
  16                                     By:    /s/ Peter Shahriari, Esq.____________
  17                                            PETER SHAHRIARI, ESQ.
                                                Attorney for Plaintiff James Shayler
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                                         COMPLAINT
